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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          CV 20-11181 CAS (JPRx)                                         Date   December 6, 2021
 Title             Neman Brothers & Assoc., Inc. v. Interfocus, Inc. et al.



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
         Joseph Remigio (video)                         Laura Elias (video)                         N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Chan Jeong (video)                                      Mark Lee (video)
                                                                              Zheng Liu (video)
 Proceedings:                 MOTIONS FOR SUMMARY JUDGMENT

       Hearing held via ZOOM webinar video conference, and the parties are present.
Tentative order provided. The Court confers with the parties and the parties argue. As
more fully reflected on the record, the Court takes the above-referenced motions under
submission pending further submission by Plaintiff of the application in question. On or
before December 20, 2021, Plaintiff shall submit a copy of the application in question
and/or submit a declaration informing the Court as to the status of Plaintiff’s possession
of said application including any steps taken to secure a copy.


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                                                               Initials of Preparer               jre




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